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                     UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF TEXAS
                         FORT WORTH DIVISION


Carroll Independent School District,

       Plaintiffs,                            Case No. 4:24-cv-00461-O

v.

United States Department of Education;
Miguel Cardona, in his official capacity
as Secretary of the United States
Department of Education; Catherine
E. Lhamon, in her official capacity as
Assistant Secretary for Civil Rights at the
United States Department of Education;
United States Department of Justice;
Merrick B. Garland, in his official
capacity as Attorney General of the
United States; and Kristen Clarke, in her
official capacity as Assistant Attorney
General for the Civil Rights Division of
the United States Department of Justice,



       Defendants.



     ________________________________________________________

     AMICUS CURIAE BRIEF OF TEXAS VALUES IN SUPPORT OF
      PLAINTIFFS MOTION FOR PRELIMINARY INJUNCTION
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                             INTEREST OF AMICUS CURIAE


      Texas Values is a statewide Judeo-Christian nonprofit organization that

promotes research, education, and legislative advocacy to encourage,

strengthen, and protect Texas families. Texas Values has over 200,000

supporters in all 254 counties in the State of Texas. Texas Values provides its

members legal and legislative representation and support on issues of faith,

family, and freedom and is the leading organization in Texas on issues affecting

constitutionally-protected religious freedom, free speech, and parental rights.



                                         INTRODUCTION

      The current and attempted overhaul of Title IX1, a 50-year-old federal

education law, is a prime example of cowardly bowing by the Biden

Administration to politicization. Title IX’s original prohibition is quite simple:

“No person in the United States shall, on the basis of sex, be excluded from

participation in, be denied the benefits of, or be subject to discrimination under

any educational program or activity receiving Federal financial assistance.” In

redefining the immutable definition of “sex,” the newly published Title IX

regulation (the “Rule”) from the U.S. Department of Education (“Department”)

makes this simple mandate unrecognizable. See Nondiscrimination on the Basis



1
    Education Amendments Act of 1972, 20 U.S.C. §§1681 - 1688 (2018)
                                                     1
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of Sex in Education Programs or Activities Receiving Federal Financial

Assistance, 89 Fed. Reg. 33, 815 (Apr. 29, 2024) (the “Rule”). Without the

Court’s intervention, the First Amendment rights of Christian students will be

trampled and sex-separated athletics for girls and women will be a relic from a

much more common-sense past.


                                 ARGUMENT


I. The Rule violates the First Amendment rights of Christian students and
   teachers

   The Rule forces Carroll Independent School District (Carroll ISD) to be the

“speech police” for pronoun usage of teachers and students by expanding the

definition of “sex” to include “gender identity,” an amorphous term that the Rule

fails to even define. In Meriwether v. Hartop, 992 F.3d 492, 506 (6th Cir. 2021),

the Court held that a public employee’s refusal to use gender identity based

pronouns involves a matter of public concern and is protected by the First

Amendment. Further, the Free Exercise Clause requires government to commit

itself to religious tolerance, and thus, regulations that burden religious exercise

are presumptively unconstitutional unless they are both neutral and generally

applicable. Ricard v. USD 475 Geary County, KS School Board, 2022 WL

1471372 (D. Kan. May 9, 2022) (citing Masterpiece Cakeshop Ltd. v. Colo. Civ.

Rts. Comm’n, 138 S. Ct. 1718, 1731 (2018). Students and teachers in Carroll

ISD and in all 1,200 school districts in Texas affected by the Rule are Christians
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of many denominations who believe that God immutably created each person

as either male or female, and that these two distinct and yet complementary

sexes are made in the image of God. These individuals also believe that the

Bible prohibits dishonesty and that referring to pronouns inconsistent with a

person’s biological sex is harmful because it is untrue. Yet the Rule’s logic leads

to the position that these beliefs could constitute sexual harassment.

   Rather than neutrality, the Rule falsely attempts to shield one group from so-

called “harassment” based on an undefined term at the expense of another

group’s religious and free speech protections. For example, the Rule states that:

      The Department maintains that the type of conduct prohibited by the
      definition of hostile environment sex-based harassment in the final
      regulations “invades the rights of others” to receive an education free
      from sex discrimination and therefore is “not immunized by the
      constitutional guarantee of freedom of speech.” 89 Fed. Reg. at 33,504.


   Surely Christian students also have the right not to be “invaded” in their

sincerely held beliefs? And yet, presumably, under the Rule, one student may

utilize the District to force another student to use the pronouns “xe,” “xir,” or

“they” – among many others - to refer to himself or herself. In fact, any conduct

or speech the student considers “unwelcome” can be considered harassment. Id.

at 33,884. Yet, as the Rule itself recognizes, “there is no categorical ‘harassment

exception’ to the First Amendment’s free speech clause.” United States v. Yung,

37 F.4th 70, 78 (3d Cir. 2022).
                                         3
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    The Biden Administration’s use of the Rule punishes people of faith and

creates special protections for a certain group of individuals. Texas Values has

considerable experience opposing sexual orientation and gender identity

terminology for this exact reason. Over the past 12 years, Texas Values has had

a 100% success rate in preventing the enactment of an estimated 3,0002 attempts

to insert this undefined language into Texas statute. These legislative attempts

would have affected every aspect of governmental regulation including the

Labor Code, Health and Safety Code, Civil Practice and Remedies Code,

Property Code, Higher Education Code, Family Code, and many more. Team

members have also supported government entities on every level, testifying at

dozens of local school board and city council meetings3 and providing accurate

legal analysis4 to public school districts as an alternative, and sometimes

response to, the flawed guidance of organizations such as the Texas Association

of School Boards (TASB). In 2016, Texas Values helped parents reverse a set

of dangerous guidelines proposed by Fort Worth ISD allowing boys into girls’

showers, locker rooms, and bathrooms. In 2023, a charter school in Fort Worth

came under tremendous pressure to open their long standing all-boys and all-

girls choirs to anyone who “identifies” as a boy or girl – thus offering so-called


2
  Since our founding in 2012, Texas Values has operated in 17 regular and special legislative sessions. During
these 17 sessions, an estimated 1,000 sexual orientation and gender identity (SOGI) bills have been filed by
legislators, most containing multiple proposed insertions to various codes. Each insertion is considered an
“attempt.”
3
  https://txvalues.org/mansfield-isd-parents-rise-up-educate-dont-indoctrinate-after-lgbt-push-fails/
4
  https://txvalues.org/aclu-tasb-school-guidance-flawed-says-texas-values-warning-for-school-districts/
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“transgender” individuals an option not available to anyone else, in violation of

equal protection. Our experience tells us that school districts will face an almost-

certainty of lawsuits based on First Amendment violations from parents and

students if they attempt to comply with the Rule. And Texas Values is likely to

either file such litigation itself, or join onto actions filed by other groups or

individuals to protect the First Amendment.

    II. The Rule is not narrowly tailored

      The Rule tries to argue that narrowly drawn anti-harassment laws are

permissible. 89 Fed. Reg. at 33,504. But the Department’s Rule is not narrow

by any standard. As a regulation, its miles-wide approach threatens potential

bankruptcy to districts which fail to enforce policies that mandate enormous

compliance efforts (e.g., school bathroom renovations, additional reporting,

hiring of investigators, etc.) and potentially change the landscape of school

administration in Texas. Texas received approximately $6.6 billion dollars in

federal funds for its K-12 education in the 2021-22 biennium5. Every dollar

could potentially be lost if public schools legitimately comply with existing state

laws on sex-separated athletics. On the other hand, the Texas Attorney General

issued an advisory on June 18, 2024 based on this Court’s ruling in State of




5
 Tex. Educ. Agency, 2022 Comprehensive Biennial Report on Texas Public Schools at 239 (Dec. 2020),
https://bit.ly/4a2Y9Bw
                                                   5
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Texas v. Miguel Cardona et al., Civil Action No. 4:23-cv-00604-O, promising

to “pursue every remedy” if school districts enact policies upholding the Rule.

   In addition, the Rule’s definition of hostile environment “sex-based

harassment” is equal parts confusing and constitutionally overbroad. It

inevitably expands the role of Title IX coordinator to monitor any conduct in

the form of speech that is potentially “unwelcome” under the standard. It also

expands the Davis standard used by courts in private actions under Title IX for

money damages. Davis v. Monroe Cnty. Bd. of Educ., 526 U.S. 629 (1999). Title

IX claims are typically initiated by private parties, and for years courts have

referred to the Davis standard which requires the harassment to be “so severe,

pervasive, and objectively offensive that it effectively bars the victim’s access

to an educational opportunity or benefit.” The Rule goes far beyond this

however, allowing a definition that recognizes harassment which is also

subjectively offensive.   To many commenters on the Rule, an attempted

“objective” standard based on subjectivity seems absurd. The bureaucrats at the

Department chose to ignore this fundamental flaw.

III. The Rule discriminates against girls and signals the end of fairness in
girl’s sports

   For over fifty years, since the enactment of Title IX, sex discrimination has

always been understood in the contextual binary of males and females by federal

agencies and participating educational institutions. There are good reasons for

this consistent approach. Bizarre situations result when deviation occurs –
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particularly in the area of women’s sports and athletics. And while the

Department attempts to downplay the consequences of the Rule on such a hot-

button issue during an election year (“[u]ntil [the rule on sex-separate teams] is

finalized and issued, the current regulations on athletics continue to apply” 89

Fed. Reg. at 33817), the truth is they are allocating a privilege (competitive

advantage in women’s sports) to men, which is classic sex discrimination. The

actual consequences will be shocking and the end of women’s sports teams –

accomplishing the exact opposite of Title IX’s original intent.

   The Rule’s stance is that treating individuals differently on the basis of sex

is more than merely de minimis harm. See, e.g. id. at 33815. If this is true, and

sex includes “gender identity” as defined by the Rule, then the Department’s

assertion that separate athletic teams for women and girls will remain unaffected

is calculated misrepresentation meant to overcome strong political headwinds

for the administration.

   Whereas the law is colorblind (considering a person’s race in a regulation

will almost always fail), it frequently discriminates, or makes a distinction,

based on sex. Schools and other public entities maintain different restrooms,

living accommodations, and athletic teams. The rationale for treating sex

differently than race, of course, is that biological characteristics provide

legitimate relevance for distinguishing between men and women. United States.

v. Virginia, 518 U.S. 515, 533 (1996). This is especially relevant in the case of

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athletics and personal privacy. As a matter of biology, men have natural

advantages over women in athletics; they are “faster, stronger, and have greater

endurance capacity.” Alison K. Heather, Transwomen Elite Athletes: Their

Extra Percentage Relative to Female Physiology, 19 Int’l. J. Env’t. Rsch. Pub.

Health 9103 (July 26, 2022). In 2018, nearly 300 high school boys could beat

Allyson Felix, one of the world’s fastest female sprinters ever, in the 400-meter

dash.6 As a matter of privacy, dignitary harms such as the sharing of intimate

spaces with men come with the potential for psychological distress and sexual

assault. As another U.S. District Court7, opining on this very issue, put it,

“Nearly every civilization recognizes a norm against exposing one’s unclothed

body to the opposite sex. Doe v. Luzerne Cnty., 660 F.3d 169, 176 (3rd Cir.

2011).”

      The legal system tolerates some sex-conscious policies, but when it has done

so, constitutionality has almost always been found because the differentiation is

based on biology. See D.N. by Jessica N. v. DeSantis, U.S. Dist. Ct. S.D. FL.

WL7323078 (2023) (Florida statute prohibiting male participation in public-

school sponsored girls’ sports does not violate Title IX or equal protection).

Biology is most important in two types of laws: privacy laws, and laws affecting

sex-separate athletics, such as those passed recently in Texas. Texas Values was



6
    Abigail Shrier, Wall Street Journal, Joe Biden’s First Day Began the End of Girls’ Sports (2021)
7
    State of Louisiana v. U.S. Dep’t of Educ., Case No. 3:24-CV-00563
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the leading organization authoring and supporting passage of HB 258 from the

Third Called Session of the 87th Texas Legislature (protecting fairness in girls’

sports for middle school and high school) of the Texas Legislature, and SB 159,

(requiring intercollegiate athletic competition to be based on biological sex),

from the 88th Regular Session. Both laws were drafted and passed in recognition

of important physiological differences between males and females. In findings,

HB 25 specifically recognizes that “classification by sex is the only feasible

classification to promote the governmental interest of providing for

interscholastic athletic opportunities for girls.”



                               CONCLUSION AND PRAYER

      Accordingly, Texas Values urges this Court to grant the Plaintiff’s motion

for a preliminary injunction against the Rule in order to protect against adverse

impacts on Carroll ISD, schoolchildren, and educators statewide.




8
    Tex. Education Code § 33.0834
9
    Tex. Education Code § 51.980
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                                         Respectfully Submitted,

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                      CERTIFICATE OF SERVICE

      I hereby certify that on July 2, 2024, I electronically filed the

foregoing Brief of Amicus Curiae Texas Values using the CM/ECF system.

Counsel for all parties to the case are registered users and will be served by

the CM/ECF system.


                                                  /s/ Kevin Fulton
                                                      Kevin Fulton




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